 

‘Case 1: 21-¢ -cr- r-00261- BPG Document 7 “Filed 08/06/21 Page 1 of 10.

 

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Assistant United States Attorig}. aes Charles, Sireel Main: 416-200-4800
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ITAA 05.06.27

Via email:

jmurtha(@ricelawmd.com

Joseph Murtha, Esq,

Rice, Murtha & Psorés, LLC

1301 York Road, Suité 206

Lutherville, Maryland. 21093-6005:

Re: United Statesy. James McKenna.
Criminal No. 01-02 b1-BPC-

Dear:Mr. Murtha?

This letter; together with the Sealed Supplement,.confitms’the plea agreement which has
been offered to the Defendant by the United States Attorney's. Office for the District-of Maryland
(“this Office” or “the Government”), Tfthe Defendant accepts this offer, please: have him. . —_
execute it-in-the spaces provided below. If this offer has not been accepted-and returned. ‘by’ May | al | Wei
24,2024, it will be deemed withdrawn. The:terms of the: apreemérit aré.as follows: . 4 ‘

Offense of Conviction.

1; The Defendant.agrees to waive his tight to proceed before a district judge,
pursuarit to 18 U.S:C. § 34016), and. plead. guilty’ f0:4.0n6 count. Information in which he willbe:
charged with [Class A Misdemeatior] theft-of | government property, in wiolation of 18 U.S.C.§:
641. The Defendant admits that he is,in fact, guilty of that offense-and will'so advise-the Court;

Elements of the Offense:

9, “The éleients of the offense to which thé Defendant has agfeed to plead: guilty,
and which the Government would prove if the case -went to'trial, are as follows:

a. First that the: money or property desctibed in the Inforination belonged to
‘the United States government;

b, ‘Second, that the Deféndarit:stole thaf property; and.

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C. Third, that the Defendant acted knowingly and willfully with the intent to
deprive the United States of the use and benefit of its property.

Penalties

3. The maximum penalties provided by statute for the offense to which the
Defendant is pleading guilty are as follows:

 

 

 

 

1 S.C. § 1 year 1 year $100,000 $25

 

 

 

 

 

 

 

a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons
has sole discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
retumed to custody to serve a term of imprisonment up to the entire original term of supervised
release if permitted by statute, followed by an additional term of supervised release.

C. Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, 3664, and 2259,

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
anid to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

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Waiver of Rights

4, The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

a. If the Defendant had persisted in his plea of not guilty, he would have had
the right to a speedy jury trial with the close assistance of competent counsel. That trial could be
conducted by a judge, without a jury, if the Defendant, the Government, and the Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the
opportunity to challenge prospective jurors who demonstrated bias or who were otherwise
unqualified, and would have the opportunity fo strike a certain number of jurors peremptorily.
All twelve jurors would have to agree unanimously before the Defendant could be found guilty
of any count. The jury would be instructed that the Defendant was presumed to be innocent, and
that presumption could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in his defense, however, he would have the subpoena power of the Court to compel the witnesses
to attend.

d. The Defendant would have the right to testify in his own defense if he so
chose, and he would have the right to refuse to testify. If he chose not to testify, the Court could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

e, If the Defendant were found guilty after a trial, he would have the right to
appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges
against his, By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict
and the Court’s decisions,

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the Waiver of Appeal paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have to
answer the Court’s questions both about the rights he is giving up and about the facts of his case.
Any statements the Defendant makes during such a hearing would not be admissible against him
during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, there will be no further
trial or proceeding of any kind, and the Court will find him guilty.

h. By pleading guilty, the Defendant may also be giving up certain valuable

civil rights including the opportunity to engage in certain employment. Defendant nevertheless
affirms that he wants to plead guilty regardless of any potential collateral consequences.

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Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing
Reform Act of 1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e))
and 28 U.S.C. §§ 991 through 998). The Defendant further understands that the Court will
impose a sentence pursuant to the Sentencing Reform Act, as excised, and must take into account
the advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. The Government and the Defendant understand, agree, and stipulate to the
Statement of Facts set forth in Attachment A hereto, which the Government would prove beyond
a reasonable doubt, and to the following applicable sentencing guidelines factors:

a. Pursuant to USSG § 2B1.1(a)(2), the base offense level is 6.

b. Pursuant to USSG § 2B1.1(b)(1}(C), there is an increase of 4, because the
value of the loss to the government was more than $15,000 and less than $40,000.

c. The Government does not oppose a two-level reduction in the Defendant’s
adjusted offense level, based upon the Defendant’s apparent prompt recognition and affirmative
acceptance of personal responsibility for his criminal conduct. The Government may oppose any
adjustment for acceptance of responsibility if the Defendant (a) fails to admit each and every
item in the factual stipulation; (b) denies involvement in the offense; (c) gives conflicting
statements about his involvement in the offense; (d) is untruthful with the Court, the
Goverment, or the United States Probation Office; (e) obstructs or attempts to obstruct justice
prior to sentencing; (f) engages in any criminal conduct between the date of this agreement and
the date of sentencing; or (g)} attempts to withdraw his plea of guilty.

d. Thus, the final adjusted offense level is 8.

7. The Defendant understands that there is no agreement as to his criminal history or
criminal history category, and that his criminal history could alter his offense level if he is a
career offender or if the instant offense was a part of a pattern of criminal conduct from which he
derived a substantial portion of his income. The Parties reasonably believe the Defendant’s
Criminal History Category is I.

Obligations of the Parties
8. At the time of sentencing, the Government will seek a sentence “within the

applicable guideline range.” The Government is free to seek a fine and/or restitution. The
Defendant reserves the right to argue for a reasonable sentence.

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9, The parties reserve the right to bring to the Court’s attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant’s background, character and conduct.

Restitution

16. The Defendant agrees to the entry of a Restitution Order for the full amount of the
victims’ losses. The Defendant agrees that, pursuant to 18 U.S.C. §§ 3663 and 3663A and §§
3563(b)(2) and 3583(d), the Court may order restitution of the full amount of the actual, total
loss caused by the offense conduct set forth in the factual stipulation. The Defendant further
agrees that he will fully disclose to the probation officer and to the Court, subject to the penalty
of perjury, all information, including but not limited to copies of all relevant bank and financial
records, regarding the current location and prior disposition of all funds obtained as a result of
the criminal conduct set forth in the factual stipulation. The Defendant further agrees to take all
reasonable steps to retrieve or repatriate any such funds and to make them available for
restitution. If the Defendant does not fulfill this provision, it will be considered a material breach
of this plea agreement, and this Office may seek to be relieved of its obligations under this
agreement,

Collection of Financial Obligations

11. The Defendant expressly authorizes the U.S. Attorney's Office te obtain a credit
report in order to evaluate the Defendant's ability to satisfy any financial obligation imposed by
the Court. In order to facilitate the collection of financial obligations to be imposed in
connection with this prosecution, the Defendant agrees to disclose fully all assets in which the
Defendant has any interest or over which the Defendant exercises control, directly or indirectly,
including those held by a spouse, nominee or other third party.

12. The Defendant will promptly submit a completed financial statement to the
United States Attorney's Office, in a form the Government prescribes and as it directs. The
Defendant promises that the financial statement and disclosures will be complete, accurate and
truthful, and understands that any willful falsehood on the financial statement will be a separate
crime and may be punished under 18 U.S.C. § 1001 by an additional five years’ incarceration and
fine.

Waiver of Appeal

13. In exchange for the concessions made by the Government and the Defendant in
this plea agreement, the Government and the Defendant waive their rights to appeal as follows:
a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291

or otherwise, to appeal the Defendant’s conviction;

b. The Defendant and the Government knowingly waive all right, pursuant fo
18 U.S.C. § 3742 or otherwise, to appeal whatever sentence is imposed (including the right to
appeal any issues that relate to the establishment of the advisory guidelines range, the
determination of the Defendant's criminal history, the weighing of the sentencing factors, and
the decision whether to impose and the calculation of any term of imprisonment, fine, order of

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forfeiture, order of restitution, and term or condition of supervised release), except as follows:
both parties reserve the right to appeal any term of imprisonment to the extent that it is outside
the sentencing guideline range.

c. Nothing in this agreement shall be construed to prevent the Defendant or
the Government from invoking the provisions of Federal Rule of Criminal Procedure 35(a), or
from appealing from any decision thereunder, should a sentence be imposed that resulted from
arithmetical, technical, or other clear error.

d. The Defendant waives any and all rights under the Freedom of
Information Act relating to the investigation and prosecution of the above-captioned matter and
agrees not to file any request for documents from the Government or any investigating agency.

Obstruction or Other Violations of Law

14. The Defendant agrees that he will not commit any offense in violation of federal,
state or local law between the date of this agreement and his sentencing in this case. In the event
that the Defendant (i) engages in conduct after the date of this agreement which would justify a
finding of obstruction of justice under U.S.S.G. § 3C1.1, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, (iii) moves to withdraw his guilty plea or (iv) commits any
offense in violation of federal, state or local law, then the Government will be relieved of its
obligations to the Defendant as reflected in this agreement. Specifically, the Government will be
free to argue sentencing guidelines factors other than those stipulated in this agreement, and it
will also be free to make sentencing recommendations other than those set out in this agreement.
As with any alleged breach of this agreement, the Government will bear the burden of
convincing the Court of the Defendant’s obstructive or unlawful behavior and/or failure to
acknowledge personal responsibility by a preponderance of the evidence. The Defendant
acknowledges that he may not withdraw his guilty plea because the Government is relieved of its
obligations under the agreement pursuant to this paragraph.

Court Not a Party

13. The Defendant expressly understands that the Court is not a party to this
agreement. In the federal system, the sentence to be imposed is within the sole discretion of the
Court. In particular, the Defendant understands that neither the United States Probation Office
nor the Court is bound by the stipulation set forth above, and that the Court will, with the aid of
the Presentence Report, determine the facts relevant to sentencing. The Defendant understands
that the Court cannot rely exclusively upon the stipulation in ascertaining the factors relevant to
the determination of sentence. Rather, in determining the factual basis for the sentence, the Court
will consider the stipulation, together with the results of the presentence investigation, and any
other relevant information. The Defendant understands that the Court is under no obligation to
accept the Government’s recommendations, and the Court has the power to impose a sentence up
to and including the statutory maximum stated above. The Defendant understands that if the
Court ascertains factors different from those contained in the stipulation set forth above, or if the
Court should impose any sentence up to the maximum established by statute, the Defendant
cannot, for that reason alone, withdraw his guilty plea, and will remain bound to fulfill all of his

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obligations under this agreement. The Defendant understands that neither the prosecutor, his
counsel, nor the Court can make a binding prediction, promise, or representation as to what
guidelines range or sentence the Defendant will receive. The Defendant agrees that no one has
made such a binding prediction or promise.

Entire Agreement

16. This letter supersedes any prior understandings, promises, or conditions between
the Government and the Defendant and, together with the Sealed Supplement, constitutes the
complete plea agreement in this case. The Defendant acknowledges that there are no other
agreements, promises, undertakings or understandings between the Defendant and the
Government other than those set forth in this letter and the Sealed Supplement and none will be
entered into unless in writing and signed by all parties.

If the Defendant fully accepts each and every term and condition of this agreement,
please sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Jonathan F. Lenzner
Acting United States Attorney

=

P, Michael Cunnjhigham

Assistant United States Attorney

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Ihave read this Agreement, including:the Sealed Supplement, and carefully reviewed.
every pait of it with my atfotney. I understand it and.1 voluntarily a@tee te it: Specifically, 1
have reviewed the. Factual and Advisory Guidelines Stipulation with my-attorney and { do not
wish to change any part of it. I am completely satisfied with the representation of my attormey.

aft [20 21

Date

 

 

Tam the Defendant’s attorney. I have carefully ‘veviewed every part of this. Apreerient,
‘including the Sealed Supplement with the Defendant. The Defendant advises me: that. the
Defendant understands and accepts its terms. To my knowledge, the Defendaiit’s decisidn to enter’

into this Agreement is an informed and voluntary one:

 

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Attachment A.
Stipulation of Facts

The undersigned parties hereby stipulate and agree that the following facts are true and
aecurate, and that if this maiter had gone to trial, the government would have proven the
following facts beyond a reasonable doubt. The undersigned parties also stipulate and agree that
the’ “following facts do not encompass all of the evidence.thai would have been presented had this
matter gone ta trial.

James McKENNA, (“McKENNA”), age 94, resides in the: n, MD,:on the

Eastern Shore. He is employed as an. electrician in the Structural. Gram at Coast Guard Station,
‘Baltimore, in Cuitis Bay. In 2018, the Coast Guard Investigative | Service was notified that 2.500
foot spool of welding lead, worth approximately $3000, was inissing, and presumably stolen,
from the Structural Group workspace. ‘Thereinafter,:an investigation into this. missing
government property and other material ensued.

 

The itvestigation disclosed that a large amount. of welding lead cables had gone:missing
from the Structural Group. Suspicion turned to the’ night shift and/or weekends. Investigators
discovered that MCKENNA had taken a substantial quantity of welding lead cables and other
items containing copper wire. Between F ebruary 2018 and January.2019, McKENNA engaged.
in at least 18 transactions with a scrap metal recycling business in Deniton, Maryland.

Further investigation revealed that throughout 2019 and into 2020, MCKENNA continued
to steal copper.wire from the Coast Guard Baltimore Yard and’scrap it at the Denton, Maryland
facility. The total cost to replace to the US Coast Guard to: replace items stolen by MCKENNA.
was approximately $37,600. This estimate was based on records obtained from the Denton.
Scrap Metal facility. of transactions involving McCKENNA.- McKENNA did not have permission
to take and scrap any of this material ‘belonging to the US Coast Guard.

SO STIPULATED:

 

Assistant United States Attorney:

 
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I have reviewed.the foregoing:statement of facts-with- my attorney, understand it, agree
with it, and do not wish te-change any part.of it. 1 further understand that it is:included as part-of
my plea-agteement with the government in this dase.

  

 

 

‘Tames McKenna
Defendant

Jam Mr.MéKenna’s attorney. [have catéfully reviewed the statement of facts with him.

 

Counsel for: Me McKenna.

 

 
